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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         4th Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                            Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Manuel Gomez                                         JOINT DEBTOR:                                         CASE NO.:       16-16796
 Last Four Digits of SS#                   xxx-xx-2479                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           2,910.00 for months            1      to       60       ;
           B.       $                     for months                  to                ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,650.00       TOTAL PAID $                      2,102.50
                     Balance Due       $             1,547.50 payable $ 257.92                   /month (Months          1   to     6   )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. CitiMortgage Inc.                                                Arrearage on Petition Date $ 11,383.41
                  1000 Technology
                  Drive; Mail Station
                  420; O Fallon, MO                                     Arrears Payment $                    79.10 /month (Months 1 to 6 )
    Address:      63368                                                                 $                   202.15 /month (Months 7 to 60 )
                  Account No:
    Account No: 770736671                                               Regular Payment $               1,559.82 /month (Months 1 to 60 )
    Southbridge Homeowners
 2. Association, Inc                                                 Arrearage on Petition Date $ 28,716.39
                  c/o Daniel
                  Wasserstein, Esq.;
                  Wasserstein, P.A.;
                  301 Yamato Road,
                  Suite 2199; Boca
    Address:      Raton, FL 33431                                       Arrears Payment $                   478.61 /month (Months 1 to 60 )
      Account No:                                                       Regular Payment $                   270.00 /month (Months 1 to 60 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments

 -NONE-                                          $                                           %          $                           To
Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                       Regular Payment $
Unsecured Creditors: Pay $ 134.87 /month (Months 7 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 AT&T                                                                          Cellular Contract, Paid Direct Outside Plan, 24 Month Contract, Expires 10/2016
 Assumed Contracts and/or Leases
 Southeast Toyota Finance                                                      Vehicle Lease, 2016 Toyota Camry, 900 Miles, 36 Month Lease, 35 Months
                                                                                        Remaining Paid Direct Outside Plan




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